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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS                     2013   JUL -8     J
                                                                                                     :   01+
                                   AUSTIN DIVISION
                                       .............................................
DORIS WILLIAMS,                                                                                lL.
                               Plaintiff,

-vs-                                                                   Case No. A-13-CA-397-SS

ENHANCED RECOVERY COMPANY, LLC,
                  Defendant.



                                    ORDER OF DISMISSAL


       BE IT REMEMBERED on this day there was presented to the Court the Notice of Voluntary

Dismissal [#5] filed by the plaintiff in the above-styled and numbered cause, and after consideration

of the same, the Court enters the following orders:

               IT IS ORDERED that the Notice of Voluntary Dismissal [#5] is GRANTED in all

       respects and this lawsuit is hereby DISMISSED with prejudice.




                                                          /'-
               IT IS FINALLY ORDERED that all costs are adjudged against the party incurring

       same.




       SIGNED this the            day of July 2013.



                                                      UNITED STATES ITRICT JUDGE




                                                                                                               J
